          Case 1:10-cv-10476-DPW Document 1 Filed 03/19/10 Page 1 of 19




                              UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF MASSACHUSETTS

                                                       )
EXERGEN CORPORATION                                    )
                                                       )
              Plaintiff,                               )
                                                       )
    v.                                                 )
                                                       )    Civil Action No.
AMERICAN SCIENTIFIC RESOURCES, INC.                    )
and KIDZ-MED, INC                                      )
                                                       )
              Defendants.                              )
                                                       )

                       COMPLAINT AND DEMAND FOR JURY TRIAL

         For its Complaint, Plaintiff alleges as follows:

                                           THE PARTIES

         1.     Plaintiff Exergen Corporation (“Exergen”) is a corporation organized and existing

under the laws of the Commonwealth of Massachusetts and having its principal place of business

at 400 Pleasant Street, Watertown, Massachusetts, within this judicial district.

         2.     Defendant Kidz-Med, Inc. is, upon information and belief, a corporation

organized under the laws of the State of New York, having a place of business at New Paltz, NY,

and doing business in this judicial district, including business related to the claims asserted in

this Complaint.

         3.     Defendant American Scientific Resources, Inc. is, upon information and belief, a

corporation organized under the laws of the State of Nevada, having a place of business at

Weston, FL, and doing business in this judicial district, including business related to the claims

asserted in this Complaint.       Upon information and belief, Defendant American Scientific

Resources, Inc. owns, controls and directs the operations of Defendant Kidz-Med, Inc.
         Case 1:10-cv-10476-DPW Document 1 Filed 03/19/10 Page 2 of 19




                                 JURISDICTION AND VENUE

        4.      This is an action for false advertising arising under 15 U.S.C. § 1125(a).

        5.      This Court has jurisdiction over the subject matter of this action pursuant to 28

U.S.C. §§ 1331, 1332 (a) (1), and 1338(b). The amount in controversy, upon information and

belief, exceeds $75,000.00.

        6.      Venue is proper in this court under 28 U.S.C. §§ 1391 (b) and (c).

                                              FACTS

                                   Exergen and its Innovations

        7.      Exergen is a leading innovator in the field of medical thermometry.

        8.      Exergen’s founder and president, Francesco Pompei, is the inventor of more than

sixty issued United States patents.

        9.      Exergen manufactures and sells products including the TemporalScanner, which

has received a number of accolades, including the New England Innovation Award in 2002, the

Greater Boston Chamber of Commerce Award in 2006, the Most Valuable Product Award from

a nursing organization, and was selected as one of 24 “Smartest Products of the Decade” by Inc.

Magazine.

        10.     Exergen sells the TemporalScanner to consumers.

        11.     Exergen also sells a professional model of the TemporalScanner for use such as in

hospital settings.

        12.     Exergen’s TemporalScanner is used by scanning the forehead of the person whose

temperature is being taken.

        13.     With a gentle stroke of the forehead the TemporalScanner captures the naturally

emitted heat from the skin over the temporal artery, taking 1,000 readings per second, selecting

                                                 2
         Case 1:10-cv-10476-DPW Document 1 Filed 03/19/10 Page 3 of 19




the most accurate.      The TemporalScanner measures ambient temperatures, mathematically

replaces the small temperature loss from cooling at the skin, and displays an accurate arterial

temperature.

                                        ASR and Kidz-Med

        14.     American Scientific Resources (“ASR”) is a publicly held company.

        15.     Kidz-Med is a wholly owned subsidiary of ASR that is controlled by ASR’s

management.

        16.     Dr. Christopher Tirotta is the President and Chief Executive Officer of ASR and

Kidz-Med.

               ASR and Kidz-Med’s Advertising of the Kidz-Med Thermofocus

        17.     ASR, through Kidz-Med, advertises, offers for sale and sells thermometers

manufactured by Italian company Tecnimed S.R.L., known as Thermofocus thermometers, under

the designation Kidz-Med Thermofocus in the United States.

        18.     The Kidz-Med Thermofocus thermometer is marketed and sold to consumers in

the United States.

        19.     ASR first announced the launch of the Kidz-Med Thermofocus in 2006.

        20.     The Kidz-Med Thermofocus is advertised throughout the United States, including

in the state of Massachusetts.

        21.     The Kidz-Med Thermofocus is sold throughout the United States, including in the

state of Massachusetts.

        22.     The Kidz-Med Thermofocus can be purchased by consumers in channels

including the Internet and in retail stores.

        23.     The Kidz-Med Thermofocus has been advertised in print publications in

                                               3
           Case 1:10-cv-10476-DPW Document 1 Filed 03/19/10 Page 4 of 19




Massachusetts.

       24.     The Kidz-Med Thermofocus has been advertised in television commercials that

have been shown in Massachusetts.

       25.     The Kidz-Med Thermofocus has been advertised on the Internet.

       26.     A consumer may purchase the Kidz-Med Thermofocus from the Kidz-Med

website.

       27.     The Kidz-Med Thermofocus is advertised on the Kidz-Med website.

       28.     The ASR website includes press releases which discuss the features of the Kidz-

Med Thermofocus thermometer.

       29.     Exergen and Kidz-Med compete for sales of thermometers to consumer.

       30.     The Kidz-Med website includes a study titled, “Comparative Study of body

Temperature Measured with a Non-Contact Infrared Thermometer Versus Conventional

Devices,” which was performed at the Second Children’s Clinic of the University of Milan

(“Milan Study”).

       31.     The Milan Study includes a comparison of the Thermofocus thermometer to the

Exergen TemporalScanner.

       32.     The TemporalScanner and the Kidz-Med Thermofocus are sold in some of the

same channels of commerce, including on the Internet.

       33.     The TemporalScanner and the Kidz-Med Thermofocus are both sold on

Amazon.com.

       34.     The Temporal Scanner and the Kidz-Med Thermofocus are both sold on

Walmart.com.

       35.     The Temporal Scanner and the Kidz-Med Thermofocus are both sold at Babies R

                                              4
         Case 1:10-cv-10476-DPW Document 1 Filed 03/19/10 Page 5 of 19




Us stores.

       36.     The Temporal Scanner and the Kidz-Med Thermofocus are both sold on the

website for Babies R Us.

       37.     The Kidz-Med Thermofocus thermometers are provided with instructions for use.

The paper instructions for use are also available on the Kidz-Med website. Defendants have

knowledge of these instructions and intend that the Kidz-Med Thermofocus thermometers will

be used according to these instructions.

       38.     Kidz-Med Thermofocus thermometers have been advertised and offered for sale

in various channels of trade in commerce in the United States.

       39.     Kidz-Med Thermofocus thermometers and Exergen’s TemporalScanner are

competitive products.

       40.     The instructions for use for the Kidz-Med Thermofocus thermometers instruct

users to aim the Kidz-Med Thermofocus thermometer at the center of the forehead in order to

measure that skin and in turn, use that skin temperature as part of the process of providing a body

temperature.

       41.     The instructional DVDs provided with the Kidz-Med Thermofocus thermometers

instruct users to aim the Kidz-Med Thermofocus thermometer at the center of the forehead in

order to measure that skin and in turn, use that skin temperature as part of the process of

providing a body temperature.

       42.     Kidz-Med Thermofocus thermometers are normally used by aiming the Kidz-Med

Thermofocus thermometer at the center of the forehead.

       43.     The instructions for use of the Kidz-Med Thermofocus thermometers do not

include instructions for scanning the forehead to measure the temperature of the skin over the

                                                5
         Case 1:10-cv-10476-DPW Document 1 Filed 03/19/10 Page 6 of 19




temporal artery.

       44.     The Kidz-Med Thermofocus thermometers cannot be used to scan the forehead to

measure the temperature of the skin over the temporal artery.

       45.     Instructions for use of the Kidz-Med Thermofocus thermometers are not designed

to locate the temporal artery.

       46.     Users of the Kidz-Med Thermofocus thermometers are not intended to locate the

temporal artery when they take the temperature of the skin at the forehead.

       47.     Kidz-Med Thermofocus thermometers, in measuring the temperature of the skin

at the center of the forehead, do not measure the temperature of the skin over the temporal artery.

       48.     The paper instructions included with the Kidz-Med Thermofocus thermometer,

telling users how to use the thermometer by aiming it at the center of the forehead, do not

provide instructions that will provide users with a temperature that results from measuring the

temperature over the skin of the temporal artery.

       49.     The instructional DVD included with the Kidz-Med Thermofocus thermometer,

telling users how to use the thermometer by aiming it at the center of the forehead, do not

provide instructions that will provide users with a temperature that results from measuring the

temperature over the skin of the temporal artery.

       50.     Advertisements for Kidz-Med Thermofocus thermometers have falsely stated,

including by necessary implication, that using the Kidz-Med Thermofocus thermometer will

provide a temperature in connection with the measurement of the skin over the temporal artery.

       51.     Kidz-Med’s advertisements for Kidz-Med Thermofocus thermometers have

included the following statement (“Forehead Statement”), “The forehead is the ideal part of the

body from which to take a temperature because it is supplied by the temporal artery, which

                                                 6
           Case 1:10-cv-10476-DPW Document 1 Filed 03/19/10 Page 7 of 19




receives blood through the aorta and the carotid artery, guaranteeing a considerable flow of

blood.”

          52.   The Forehead Statement was made by Kidz-Med for reasons including to

influence consumers’ purchasing decisions.

          53.   The Forehead Statement was made by Tecnimed for reasons including to

influence consumers’ purchasing decisions.

          54.   The Kidz-Med website has, in the past, included the following question and

answer (“Temporal Artery FAQ”):

                Q:     How accurate is the Thermofocus?

                A:     Taking the temperature at the temporal artery (forehead) is deemed as

                       accurate as a rectal thermometer, and more accurate than ear

                       thermometers.

          55.   The Temporal Artery FAQ falsely states, including by necessary implication, that

the Kidz-Med Thermofocus, in providing a temperature from a forehead measurement, measures

a temperature taken at the skin over the temporal artery.

          56.   The Temporal Artery FAQ falsely states, including by necessary implication, that

the temperature of the skin over the temporal artery is the same as the temperature taken at the

forehead generally.

          57.   Kidz-Med included the Temporal Artery FAQ for reasons including to influence

consumers’ purchasing decisions.

          58.   On its website, Kidz-Med has posted a document titled, “What the Experts are

Saying” concerning Kidz-Med Thermofocus thermometers. (“Kidz-Med Expert Document”)

          59.   The Kidz-Med Expert Document is currently available on the Kidz-Med website.

                                                 7
         Case 1:10-cv-10476-DPW Document 1 Filed 03/19/10 Page 8 of 19




       60.    The Kidz-Med Expert Document contains the statement, “There really is a need

for something that is quick, accurate, noninvasive and nonirritating,” says Dr. Gary Fleisher, a

temperature expert at Children’s Hospital, Professor at Harvard Medical School, and the lead

author of the new study. Despite the popularity of tympanic thermometers, Dr. Fleisher said,

“Their accuracy is less than desirable, and if people are currently using an ear thermometer, the

temporal artery Thermometer is more accurate and easy to use.” High Fever, Meet High-Tech

Thermometer, Shari Roan, Los Angeles Times, Monday, April 9, 2001.

       61.    The Kidz-Med Expert Document contains the statement, “However, the TA

(temporal artery) thermometer is more accurate than the tympanic (ear) thermometer in infants,

and it is better tolerated by infants than rectal thermometry.” David S. Greenes, Gary R.

Fleisher, Division of Emergency Medicine, Children’s Hospital, Harvard Medical School, Arch.

Pediatric Adolescent Med: March 2001, Vol. 155; 376-38.

       62.    Kidz-Med posted the Kidz-Med Expert Document for reasons including to

influence customers’ purchasing decisions.

       63.    The Kidz-Med Expert Document falsely states by necessary implication that in

normal use in providing a temperature from a forehead measurement, the Kidz-Med

Thermofocus thermometer measures the skin over the temporal artery.

       64.    American Scientific Resources issued a press release in February 2006, titled

“American Scientific Resources Announces U.S. Retail Launch of Thermofocus(R)” (“ASR

Launch Release”).

       65.    The ASR Launch Release was issued through at least one press release

distribution service, namely, Marketwire.

       66.    The ASR Launch Release has been and is currently available at the Marketwire

                                               8
          Case 1:10-cv-10476-DPW Document 1 Filed 03/19/10 Page 9 of 19




website        at       http://www.marketwire.com/press-release/American-Scientific-Resources-

Announces-US-Retail-Launch-of-Thermofocus-674802.htm.

        67.     The ASR Launch Release contains the statement (“Launch Release Statement”),

“The Thermofocus will be the newest product in the Kidz-Med line of children’s health and

safety devices. The thermometer has patented infrared technology that allows a temperature to

be taken without touching or waking a patient or sleeping baby. The device is totally non-

invasive and takes a temporal artery temperature at the forehead, which is a preferred site

because of its source of blood flow directly from the head. The Thermofocus is accurate,

immediate, and hygienic because it never touches the body.”

        68.     The ASR Launch release has been and currently is available on the website of

third party redOrbit, at:

http://www.redorbit.com/news/health/383932/american_scientific_resources_announces_us_reta

il_launch_of_thermofocusr/#.

        69.     The ASR Launch Release has been and currently is available on the ASR website,

including at http://www.americansci.com/cms-newsdisplay/19.html.

        70.     ASR issued the ASR Launch Release for reasons including to influence

customers’ purchasing decisions.

        71.     The ASR Launch Release falsely states, including by necessary implication, that

the Kidz-Med Thermofocus, will provide a temperature in connection with the measurement of

skin over the temporal artery at the forehead.

        72.     American Scientific Resources issued a press release in August 2006, titled

“American Scientific Resources Announces New Partnership” (“ASR Partnership Release”)

        73.     The ASR Partnership Release was issued through at least one press release

                                                 9
          Case 1:10-cv-10476-DPW Document 1 Filed 03/19/10 Page 10 of 19




distribution service, namely, Marketwire.

       74.     The ASR Partnership release has been and is currently available at the Marketwire

website       at       http://www.marketwire.com/press-release/American-Scientific-Resources-

Announces-New-Partnership-707171.htm.

       75.     The ASR Partnership Release has been and can currently be found at the website:

http://findarticles.com/p/articles/mi_pwwi/is_200608/ai_n16633084/?tag=content;col1.

       76.     The ASR Partnership Release contains the statement (“Partnership Release

Statement”), “The Thermofocus is the newest product in the Kidz-Med line of children’s health

and safety devices. The thermometer has patented infrared technology that allows a temperature

to be taken without touching or waking a patient or sleeping baby. The device is totally non-

invasive and takes a temporal artery temperature at the forehead, which is a preferred site

because of its source of blood flow directly from the head. The Thermofocus is accurate,

immediate, and hygienic because it never touches the body.”

       77.     ASR issued the ASR Partnership Release for reasons including to influence

customers’ purchasing decisions.

       78.     The ASR Partnership Release falsely states, including by necessary implication,

that the Kidz-Med Thermofocus, will provide a temperature in connection with the measurement

of skin over the temporal artery at the forehead.

       79.     A temperature taken at the forehead, as instructed by the paper instructions and

DVD provided with the Kidz-Med Thermofocus thermometer, is less accurate than a temperature

taken at the skin over the temporal artery.

       80.     Kidz-Med’s website has included a product information sheet about the Kidz-Med

Thermofocus which states, “The Thermofocus uses totally safe infrared technology to instantly

                                                10
           Case 1:10-cv-10476-DPW Document 1 Filed 03/19/10 Page 11 of 19




read the core body temperature at the forehead. Taking the temperature at the temporal artery is

deemed as accurate as rectal readings and more accurate than those taken at the ear.

Thermofocus® is non-invasive, totally hygienic, and non irritating to babies and patients.”

(“Kidz-Med Product Information Sheet”).

       81.     The Kidz-Med Product Information Sheet is currently posted on the Kidz-Med

website.

       82.     Kidz-Med posted the Kidz-Med Product Information Sheet for reasons including

to influence customers’ purchasing decisions.

       83.     The Kidz-Med Product Information Sheet falsely states, including by necessary

implication, that the Kidz-Med Thermofocus thermometer measures the temperature of the skin

over the temporal artery when it measure the temperature of the skin at the forehead.

       84.     Kidz-Med and ASR intend for purchasers of thermometers to rely on the above

advertising statements in making purchasing decisions.

       85.     Kidz-Med and ASR expect that purchasers of thermometers will rely on the above

advertising statements in making purchasing decisions.

       86.     Statements concerning the accuracy of thermometers marketed to the public are

material and likely to influence purchasing decisions.

       87.     Statements concerning the temperature provided by thermometers marketed to the

public are material and likely to influence purchasing decisions.

             ASR and Kidz-Med’s Advertising of the Never Touch Thermometer

       88.     It was recently announced that Kidz-Med will be selling a new infrared non-

contact thermometer, called the “Never Touch.”

       89.     In a disclosure dated December 16, 2009 (“December 16 Disclosure”), ASR

                                                11
        Case 1:10-cv-10476-DPW Document 1 Filed 03/19/10 Page 12 of 19




stated, “Our Company has decided to phase out the distribution of the Thermofocus® 5-in-1

thermometer due to lagging sales, and in favor of developing and distributing our own

proprietary infrared and non-contact clinical thermometer, the Never Touch 5-in-1”

       90.    In the December 16 Disclosure, ASR stated, with respect to the Never Touch,

“The Company has engaged a design engineer for the express purpose of designing and

manufacturing their own non-contact thermometer. An FDA consultant has been engaged as

well as a Chinese manufacturer. We will source and manufacture the components in China.

Final assembly and packaging will be done domestically.”

       91.    In the December 16 Disclosure, ASR stated, “We are planning to approach every

major US retailer for [sic] in the Winter of 2009/2010 to secure shelf placement for this product

for the 2010/2011 cough/cold season.”

       92.    On December 28, 2009, ASR issued a press release titled, “New Revolutionary

Thermometer Line to Launch” (December 28 Release).

       93.    The December 28 Release stated, “By utilizing the latest technological

innovations, in managements’ [sic] opinion, ASR was able to make this new device affordable

for the consumer, as accurate as most trusted thermometers, and easy-to-use for a touch-less,

instant temperature reading”

       94.    The December 28 Release stated, “The new thermometers will be partially

manufactured in China at the Company’s overseas location, with final sub-component assembly

and packaging occurring at ASR’s Ohio and Florida facilities.”

       95.    The December 28 Release stated, “Production of the consumer model is

scheduled to commence in February 2010 with, in managements’ estimation, full production

capability exceeding 5000 units per day.”

                                               12
        Case 1:10-cv-10476-DPW Document 1 Filed 03/19/10 Page 13 of 19




       96.     The December 28 Release stated, “Private label and other branded versions are

currently being marketed to large retailers, global distributors and healthcare providers. The

thermometer is expected to be available for purchase in Q3 2010.”

       97.     The December 28 Release was distributed through press release service

PRNewswire.

       98.     The December 28 Release is available at PRNewswire’s website at

http://www.prnewswire.com/news-releases/new-revolutionary-thermometer-line-to-launch-

80195297.html.

       99.     The December 28 Release includes a photograph of the Never Touch

thermometer.

       100.    The   December    28    Release     is   available   on   the   ASR   website   at

http://www.americansci.com/cms-newsdisplay/112.html.

       101.    Information from the December 28 Release was published on other Internet sites,

including the sites for the Broward Alliance, HighBeam Research, and the Medical News.

       102.    News regarding the introduction of ASR’s new thermometer, including a link to

the December 28 Release, was included on www.coolest-gadgets.com at http://www.coolest-

gadgets.com/20091231/thermometer-line-ready-action/#more-36029 in a story titled, “New

thermometer line ready to see action.”       This story included a photograph of the new

thermometer, which is labeled Never Touch 5-in-1.

       103.    On January 26, 2010, ASR filed an S-1 with the Securities and Exchange

Commission (“January 26 S-1)

       104.    The January 26 S-1 states, “The Company is also in the process of designing,

manufacturing and registering its own non-contact thermometer under the name ‘Never Touch 5-

                                              13
           Case 1:10-cv-10476-DPW Document 1 Filed 03/19/10 Page 14 of 19




in-1.’”

          105.   The above statements concerning the availability of the Never Touch are material

and made to influence the purchasing decisions of purchasers of thermometers.

          106.   The above statements concerning the introduction of the Never Touch are

material and are made to influence the purchasing decisions of purchasers of thermometers.

          107.   The above statements concerning the introduction the Never Touch are material

and are made influence the purchasing decisions of purchasers of thermometers.

          108.   The above statements concerning the place of manufacture of the Never Touch

are material and are made to influence the purchasing decisions of purchasers of thermometers..

          109.   The above statements concerning the timing of the production and availability of

the Never Touch are material and likely to influence the purchasing decisions of purchasers of

thermometers.

          110.   On February 11, 2010, there was a status conference in the litigation currently

pending in the District of Massachusetts between Exergen Corporation and Kidz-Med, ASR, and

Tecnimed S.R.L., Case No.08-cv-11416-DPW.

          111.   At the status conference on February 11, counsel for ASR and Kidz-Med, Richard

Yeskoo, stated, with respect to the Never Touch:

                 Richard Yeskoo for Kids-Med and ASR. There are two issues, one
                 which was just raised by counsel. My client’s been developing a
                 new device and is still at least six months from sale in the United
                 States. They’re trying to drag this new device, which is now in
                 development in China, into this case, and we think that that’s long
                 past due so that’s the dispute. We’ve said, you know, once we
                 offer it for sale, we’ll give you a sample but it’s going to be at least
                 six months from now. We don’t have FDA approval; we don’t
                 have a final prototype; we haven’t had patent review, so that’s one
                 issue. Since fact discovery is closed in August and we announced
                 that we were developing this in December, I don’t see how that

                                                   14
           Case 1:10-cv-10476-DPW Document 1 Filed 03/19/10 Page 15 of 19




                 issue comes into this case.

          112.   Mr. Yeskoo’s statement was made in open court.

          113.   Mr. Yeskoo’s statement, particularly, “we don’t have a final prototype,”

contradicts ASR’s statements regarding the production, manufacture, and availability of the

Never Touch.

          114.   Mr. Yeskoo’s statement of February 11, 2010 contradicts ASR’s statement in the

December 28 Release, “Production of the consumer model is scheduled to commence in

February 2010 with, in managements’ [sic] estimation, full production capability exceeding 5000

units per day.” (emphasis added).

          115.   Mr. Yeskoo’s statement of February 11, 2010 contradicts ASR’s statement from

the January 26-S-1, “The Company is also in the process of designing, manufacturing and

registering its own non-contact thermometer under the name ‘Never Touch 5-in-1.’” (emphasis

added).

          116.   Mr. Yeskoo’s statement of February 11, 2010 demonstrates that ASR made

literally false statements concerning the Never Touch thermometers and its and/or Kidz-Med’s

commercial activities in the December 16 Disclosure.

          117.   Mr. Yeskoo’s statement of February 11, 2010 demonstrates that ASR made

literally false statements concerning the Never Touch thermometers and its and/or Kidz-Med’s

commercial activities in the December 28 Release.

          118.   Mr. Yeskoo’s statement of February 11, 2010 demonstrates that ASR made

literally false statements concerning the Never Touch thermometers and its and/or Kidz-Med’s

commercial activities in the January 26 S-1.

          119.   Information concerning the introduction of the Never Touch has been published


                                               15
         Case 1:10-cv-10476-DPW Document 1 Filed 03/19/10 Page 16 of 19




online in Drug Store News. On March 16, 2010, this website included an article called, “New

no-touch thermometer to hit store shelves this summer,” which stated, “American Scientific

Resources plans to launch a premium thermometer — the Kidz+Med NeverTouch 5-in-1 —

beginning Aug. 1.” This article also included a photograph of the NeverTouch in packaging with

a caption stating, “The newest thermometer from American Scientific Resources: Kidz+Med

NeverTouch 5-in-1.” This article is available online at:

http://drugstorenews.com/story.aspx?id=133765&menuid=793.

                              COUNT I FALSE ADVERTISING

                                      (15. U.S.C. § 1125(a))

        120.    Plaintiff restates and incorporates herein by reference Paragraphs 1-119 as though

fully set forth herein.

        121.    Statements, including those listed above, made in commercial advertising or

promotion by Kidz-Med and/or ASR concerning the Kidz-Med Thermofocus thermometers and

their necessary implications are literally false and misrepresent the nature, characteristics, and

qualities of the Kidz-Med Thermofocus thermometers.

        122.    Statements, including those listed above, made in commercial advertising or

promotion by ASR concerning the Never Touch thermometers are literally false and

misrepresent the nature, characteristics, and qualities of the Never Touch thermometers.

        123.    Statements, including those listed above, made in commercial advertising or

promotion by ASR concerning the Never Touch thermometers are literally false and

misrepresent the nature, characteristics, and qualities of ASR’s commercial activities.

        124.    Statements, including those listed above, made in commercial advertising or

promotion by ASR concerning the Never Touch thermometers are literally false and

                                                16
        Case 1:10-cv-10476-DPW Document 1 Filed 03/19/10 Page 17 of 19




misrepresent the nature, characteristics, and qualities of Kidz-Med’s commercial activities.

       125.    The false statements deceived, and have a tendency to continue to deceive, a

substantial segment of their intended audience.

       126.    The deception of the advertisements is material, and has influenced, and will

continue to influence, the purchasing decisions of Exergen’s potential customers, specifically,

consumers of thermometers, including parents of minor children.

       127.    The false advertising concerning the Kidz-Med Thermofocus was put into

interstate commerce by Kidz-Med and/or ASR, including by being published on the Kidz-Med

website, the ASR website, and included in at least one press release distributed through a news

service, and on information and belief, has been widely distributed to consumers of

thermometers throughout the United States.

       128.    The false advertising concerning the Never Touch and the commercial activities

of Kidz-Med and ASR with respect thereto have been included in at least one press release

distributed through a news service, including in public disclosures and filings concerning ASR as

a company, and on information and belief, has been widely distributed to consumers of

thermometers throughout the United States.

       129.    The false advertising has injured, and is likely to continue to injure, Exergen.

       130.    On information and belief, the false advertising concerning the Kidz-Med

Thermofocus has caused and will continue to cause Exergen to lose sales of ifs thermometers,

and suffer additional damage for which it has no adequate remedy at law.

       131.    On information and belief, the false advertising concerning the Never Touch is

likely to cause retailers and consumers to forbear from the purchase of Exergen thermometers

and in turn, cause Exergen to lose sales of ifs thermometers, and suffer additional damage for

                                                  17
         Case 1:10-cv-10476-DPW Document 1 Filed 03/19/10 Page 18 of 19




which it has no adequate remedy at law.

       132.     The false advertising concerning the Kidz-Med Thermofocus violates Section

43(a) of the Lanham Act (15 U.S.C. § 1125(a)), which prohibits defendants from using false or

misleading representations of fact that misrepresent the nature, characteristics, or qualities, of

their own or Exergen’s products.

       133.     The false advertising concerning the Never Touch and the commercial activities

of ASR and Kidz-Med violates Section 43(a) of the Lanham Act (15 U.S.C. § 1125(a)), which

prohibits defendants from using false or misleading representations of fact that misrepresent the

nature, characteristics, qualities, or geographic origin of their commercial activities.

       134.     Defendants’ violation of the Lanham Act, as alleged herein, has been knowing

and willful.

       WHEREFORE, Exergen prays that this Court:

       A.       Enter an order preliminary and permanently enjoining each of the defendants, its

agents and employees, and any others acting in concert with them, from committing false

advertising and statements, described above with respect to the Kidz-Med Thermofocus

thermometers.

       B.       Award Exergen monetary relief from defendants’ false advertising, including but

not limited to defendants’ wrongful profits, Exergen’s lost profits, and funds for corrective

advertising, in an amount to be determined at trial, as well as treble damages.

       C.       Award Exergen its prejudgment interest and post judgment interest on its

damages and award Exergen its costs; and

       D.       Award Exergen such other and further relief as it deems just and appropriate.



                                                 18
          Case 1:10-cv-10476-DPW Document 1 Filed 03/19/10 Page 19 of 19




                                          JURY DEMAND

         Plaintiff demands a trial by jury.


Date: March 19, 2010                            Respectfully submitted,

                                                EXERGEN CORPORATION
                                                By its attorneys,

                                                /s/ Meredith L. Ainbinder
                                                Kerry L. Timbers (BBO # 552293)
                                                Robert M. Asher (BBO # 22865)
                                                Meredith L. Ainbinder (BBO # 661132)
                                                SUNSTEIN KANN MURPHY & TIMBERS
                                                LLP
                                                125 Summer Street
                                                Boston, MA 02110-1618
                                                Tel: (617) 443-9292
                                                Fax: (617) 443-0004
                                                Email: mainbinder@sunsteinlaw.com


03577/00502 1225223.1




                                              19
